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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 JANE DOE,

        Plaintiff,
                                                          CASE NO.: 1:21-cv-1150-AJT-JFA
 v.

 FAIRFAX POLICE OFFICER #1, et al.,

        Defendants.


                                 NOTICE OF APPEARANCE

        Please take notice that Vincent Shier, Virginia State Bar Number 71446, of the law firm of

 Haynes and Boone, LLP, hereby enters an appearance as counsel for non-party Ms. Hazel Marie

 Sanchez Cerdas (Ms. Sanchez Cerdas is identified on the electronic docketing system as an

 “interested party,” but she is not a party to this action). The parties deposed Ms. Sanchez

 Cerdas on August 29, 2022 in her capacity as a third-party witness, and on September 9,

 2022, Defendants filed a motion to compel further testimony from Ms. Sanchez Cerdas. [See

 Dkt. 118]. Ms. Sanchez Cerdas will be opposing that motion by the Court-ordered deadline of

 September 16, 2022. [Dkt. 121].


 Dated: September 13, 2022
                                                     Respectfully submitted,

                                                     By: /s/ Vincent Shier
                                                        Vincent Shier (VSB No. 71446)
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                                                        Counsel for Non-Party Ms. Hazel Marie
                                                        Sanchez Cerdas
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2022, a true and correct copy of the foregoing
 NOTICE OF APPEARANCE was filed with the Clerk of the Court using the CM/ECF system,
 which will send a Notification of Electronic Filing to all counsel of record.

                                                      /s/ Vincent Shier
                                                      Vincent Shier (VSB No. 71446)
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                                                      Sanchez Cerdas




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